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                      EXHIBIT 19

    DECLARATION OF RUFUS JENKINS
Part 9: Attachment DDDD – Attachment JJJJ, pages 1773 – 1988
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ATTACHMENT DDDD




                                                               PX19 - 1773
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 ATTACHMENT EEEE




                                                                PX19 - 1781
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  ATTACHMENT FFFF




                                                                PX19 - 1789
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Kotobuki Billing from June 2016 to present

Invoices                             Payments

Date         Invoice # Amount        Date     Payment        Check #
  Jun-16        21530 $1,549.15        Jun-16 $2,070.61         70802
    Jul-16      21799 $1,549.15          Jul-16 $1,549.15       70816
  Aug-16        22249 $1,549.15        Aug-16 $1,549.15         70837
  Sep-16        22426 $1,549.15        Sep-16 $1,549.15         70861
  Oct-16        22954 $39,746.33       Oct-16 $3,193.70         70877
  Nov-16        23133 $28,904.60       Dec-16 $6,023.89         70904
  Dec-16        23610 $24,755.52        Jan-17 $3,737.08        70909
   Jan-17       23823 $22,058.71       Feb-17 $10,727.01        70937
  Feb-17        24155 $29,048.64       Mar-17 $5,820.27         70955
  Mar-17        24551 $25,705.94       Apr-17 $6,757.85         70968
  Apr-17        24963 $25,079.48       May-17 $11,777.96        70982
  May-17        25335 $30,099.59         Jul-17 $6,065.18       71009
  Jun-17        25528 $24,386.81       Aug-17 $18,101.17        71027
    Jul-17      25885 $29,250.58       Oct-17 $14,689.59        71047
  Aug-17        26509 $27,132.60       Dec-17 $10,947.20        71055
  Sep-17        26904 $26,127.88        Jan-18 $2,073.20        71059
  Oct-17        27039 $25,985.59       Feb-18 $6,570.81         71070
  Nov-17        27636 $24,683.86       Mar-18 $2,023.18         71077
  Dec-17        27871 $22,906.60       Apr-18 $5,302.65         71097
   Jan-18       28330 $20,394.83       May-18 $1,919.57         71096
  Feb-18        28626 $24,892.44       Jun-18 $9,166.37         71095
  Mar-18        29190 $20,344.81         Jul-18 $15,203.76      71106
  Apr-18        30388 $20,241.20       Dec-18 $2,594.49         71134
  May-18        30392 $21,704.71       Dec-18 $5,058.56         71143
  Jun-18        30398 $22,185.35        Jan-19 $3,155.34        71144
    Jul-18      30459 $24,359.02       Feb-19 $13,232.59         1885
  Aug-18        30852 $23,425.21       Mar-19 $9,134.99          1912
  Sep-18        31262 $23,070.26         Jul-19   $898.08        2079
  Oct-18        31659 $23,307.67       Aug-19 $3,992.77          2141
  Nov-18        32068 $22,466.46
  Dec-18        32491 $23,380.19
   Jan-19       32877 $23,444.59
  Feb-19        33485 $21,075.69
  Mar-19        34293 $9,273.30
  Apr-19        34687 $8,265.57
  May-19        35084 $8,268.65
  Jun-19        35496 $8,849.79
    Jul-19      35909 $9,374.66
  Aug-19        36373 $9,149.77
  Aug-19        36809   $105.76
  Sep-19        36840 $12,787.61


                                                                                 PX19 - 1790
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                                                                 PX19 - 1791
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                                                                 PX19 - 1793
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                                                                  PX19 - 1794
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                                                               PX19 - 1796
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                                                               PX19 - 1797
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                                                               PX19 - 1798
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                                                                PX19 - 1799
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                                                               PX19 - 1800
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                                                               PX19 - 1801
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                                                               PX19 - 1802
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                                                               PX19 - 1803
9/18/2019                                 Case 2:20-cv-00840-JAD-NJKNaitoDocument
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                                                                                        Salesforce       05/11/20
                                                                                                   - Enterprise Edition Page 33 of 217

                                                                                                                                             • Close Window
                                                                                                                                             • Print This Pag~
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  Naito Corporation


                     Account Owner      Chris Heath                                                             Phone     (213) 674-2330
                    Account Number                                                                                 Fax

                      Account Name      Naito Corporation                                                      Website    http://naito.com

                      Account Code                                                                         Find Nearby    Locate Account
                     Parent Account                                                                    Mapping Status     Not Located Yet

                                Type    Customer                                                     Mapping Address      Billing

                     Customer Type      IP Office

                         Billing Hold

               Account Age (Months)     49

               Fiber Building Carrier



     Address Information
                     Billing Address    101 Convention Center Drive                                  Shipping Address
                                        Suite 500
                                        Las Vegas, NV 89109


     Additional Information
                            Industry                                                                        Employees

                  Additional Contact                                                                   Annual Revenue

            Additional Contact Phone                                                                  Year In Database

                             Project                                                                     Sales Volume

                Industry Description                                                                               SIC

                    Corporate Office                                                                   SIC Description

                       Primary POC                                                                        Credit Rating

                    Lease Company                                                                        Est Move Date

                       Telemarketer                                                            Service Contract (Hours)

                        Lead Source                                                                        Reason Left

                          Username                                                                       Date Canceled

                             P-word                                                                           Auto Pay

                                                                                                         Payment Type
                                                                                                                                              PX19 - 1804
https://na64.salesforce.com/0017000001 LZSAa/p?retURL=/0017000001 LZ5Aa                                                                                                1/114
9/18/2019                                   Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                            Corporation - 3-14     Filed
                                                                                          Salesforce       05/11/20
                                                                                                     - Enterprise Edition Page 34 of 217

   CCM
   System IP http:/1192.168.2.230


  Circuit's
   1424
       Service Address 219 S Vermont Ave Ste 200, Los Angeles 90007
              Description Replaced Cogent 1-300019290 - SF 1199
                    Status Canceled
                    Carrier ATT
             Circuit Type EVPL / Fiber
   Download Bandwidth 100
                 Circuit ID AS/KRFN/001416/PT


   1199
       s     •     Add        219 S Vermont Ave Ste 200
          ervice         ress Los Angeles 90007
              Description Off Net Basic ( No SLA) Long- Haul Fast E
                    Status Need to Cancel
                    Carrier Cogent
             Circuit Type Dedicated Internet
   Download Bandwidth 100
                 Circuit ID 1-300019290


   1234
       Service Address 1930 Wilshire Boulevard, Suite 400
                       Los Angeles, CA 90057
              Description WILCON FIBER GIG CIRCUIT - NOT OURS
                    Status
                    Carrier
             Circuit Type
   Download Bandwidth
                 Circuit ID


  Projects
   Naito NT
   Owner First Name Jini
   Owner Last Name Wallace
                 Status Completed
             Deadline


   Naito Corporation Install
   Owner First Name Jason
   Owner Last Name Bales
                 Status Completed
             Deadline
                                                                                                                                           PX19 - 1805
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                                  3/114
9/18/2019                              Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                       Corporation - 3-14     Filed
                                                                                     Salesforce       05/11/20
                                                                                                - Enterprise Edition Page 35 of 217
            Type Attachment                                                                 Type Attachment
       Owner Kameron Coleman                                                              Owner Kameron Coleman
   Description                                                                        Description
                 View file                                                                          View file
    Related To Naito Corporation                                                      Related To Naito Corporation


   Naito - GIG switch.PDF                                                            Naito call flow.jpg
            Type Attachment                                                                 Type Attachment
       Owner Kameron Coleman                                                              Owner Kameron Coleman
   Description                                                                        Description
                 View file                                                                          View file
    Related To Naito Corporation                                                      Related To Naito Corporation


   Naito User detall.xlsx                                                            Numbers to Port.PDF
            Type Attachment                                                                 Type Attachment
       Owner Kameron Coleman                                                              Owner Sarah Salcedo
   Description                                                                        Description
                 View file                                                                          View file
    Related To Naito Corporation                                                      Related To Naito Corporation


   Naito Call flow.xlsx                                                              Cogent Contract for Convergence - signed.pdf
            Type Attachment                                                                 Type Attachment
       Owner Kameron Coleman                                                              Owner Sarah Salcedo
   Description                                                                        Description
                 View file                                                                          View file
    Related To Naito Corporation                                                      Related To Naito Corporation


   Naito Signed Agreement.pdf                                                        Site Survey Naito.txt
            Type Attachment                                                                 Type Attachment
       Owner Sarah Salcedo                                                                Owner Kameron Coleman
   Description                                                                        Description
                 View file                                                                          View file
    Related To Naito Corporation                                                      Related To Naito Corporation


   Cogent Contract for Convergence - unsigned.pdf                                    Convergence Fiber.pdf
            Type Attachment                                                                 Type Attachment
       Owner Sarah Salcedo                                                                Owner Sarah Salcedo
   Description                                                                        Description
                 View file                                                                          View file
    Related To Naito Corporation                                                      Related To Naito Corporation


  Contacts
   Takehisa Naito
            Title CEO
        Email
                                                                                                                                      PX19 - 1806
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                             5/114
9/18/2019                              Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                       Corporation - 3-14     Filed
                                                                                     Salesforce       05/11/20
                                                                                                - Enterprise Edition Page 36 of 217
       Phone (213) 674-2330
   Extension#
            Fax
       Mobile
   Description


   Ken Chung
            Title Office Manager
        Email scitex1209@hotmail.com
       Phone (213) 503-6707
   Extension#
            Fax
       Mobile (213) 503-6707
   Description kotobukimarketing@gmail.com


   Pablo Naito
            Title
        Email pablo@naitogroup.com
       Phone (213) 674-2330
   Extension#
            Fax
       Mobile (213) 440-0283
   Description


   Erica Diaz
            Title
        Email 421@naitogroup.com
       Phone (213) 674-2330
   Extension#
            Fax
       Mobile
   Description


  jay park
            Title
        Email ken@naitogroup.com
       Phone (213) 674-2330
   Extension#
            Fax
       Mobile
   Description


  Cases
   00052561
      Contact Name Ken Chung
                                                                                                                                      PX19 - 1807
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                             6/114
9/18/2019                                    Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                             Corporation - 3-14     Filed
                                                                                           Salesforce       05/11/20
                                                                                                      - Enterprise Edition Page 37 of 217
                Status Closed
                Owner Alex Rosillo
                       What will be best way to get one local number and set up one phone with that number?

                          We want to set up Corporate number for business not for call center. Just one phone with no IVR, just voice mail box.

                          Please let me know ASAP.


                          Pending items
            Description

                          1. Those phones that are not recording. So far no confirmation whether issue has been fixed or not.

                          2. Reporting. (OLD ITEM) we didn't hear back about this one.

                          Please let me know on these items.

                          Thank You

   00039683
      Contact Name Ken Chung
            Subject FW: Extensions with problem for 3 way conference call
             Priority Medium
       Date Opened 1/31/2018
   Date/Time Closed 2/19/2018 10:34 AM
             Status Closed
             Owner Brian Frizek
                      Have anyone look into this issue?

                          Now these extensions are displaying wrong caller ID

                          Should show 877-218-7437 but showing other phone number.

                          Still have problem with 3 way Conference call.

                        From: Ken chan joo chung
                        Sent: Wednesday, January 31, 201812:58 PM
                        To: 'Alex Rosillo' <alex.r@convergence.com>; DL-Conver-Support <support@convergence.com>
                        Cc: Brian Frizek <brian.f@convergence.com>; Jason Bales <jason@convergence.com>
            Description Subject: Extensions with problem for 3 way conference call

                          80946
                          81249
                          81243

                          When agent try to do 3 way conference with these extensions, agent, Customer and bank cannot hear each other.

                          Regular phone call is working fine. Just 3way conference call has issue.

                          It was working until las Friday.

                          Thanks

                                                                                                                                                  PX19 - 1808
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                                         11/114
9/18/2019                                Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                         Corporation - 3-14     Filed
                                                                                       Salesforce       05/11/20
                                                                                                  - Enterprise Edition Page 38 of 217

   00038128
      Contact Name Ken Chung
               Subject Update Address for Naito Corp
               Priority Medium
       Date Opened 10/19/2017
   Date/Time Closed 10/20/2017 7:27 AM
                Status Closed
               Owner David Dennen
                      Hello,

                      We've noticed that our address has not been updated and would like to do
                      so.

                      *Name on the Account:* Ken Chung
                      *Company name: *Naito Corporation


                        Our Address is
                        101 Convention Center Dr
                        <https://maps.google.com/?q=101+Convention+Center+Dr&entry=gmail&source=g>.
                        Ste. 500
            Description
                        Las Vegas, NV 89109




                      Thank you,



                      Markeeta Banks
                      *Human Resources Department*
                      Kotobuki Marketing, Inc.
                      Call/Text: (702)600-3909


   00038038
      Contact Name Naito Group
               Subject Fwd: Payment Confirmation
               Priority Medium
       Date Opened 10/12/2017
   Date/Time Closed 10/12/2017 3:28 PM
                Status Closed
               Owner Brian Frizek
            Description ------- Forwarded message -------
                        From: Naito Group <kotobukimarketing@gmail.com>
                        Date: Tue, Oct 10, 2017 at 9:49 AM
                        Subject: Payment Confirmation
                        To: support@convenience.com


                      Hello,

                      I'd like to assure that payment was relieved for account no. 1535                                                 PX19 - 1809
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                               15/114
9/18/2019                                 Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                          Corporation - 3-14     Filed
                                                                                        Salesforce       05/11/20
                                                                                                   - Enterprise Edition Page 39 of 217
                       Name on the Account: Ken Chung
                       Company name: Naito Corporation
                       101 Convention Center Dr Tower suites 500
                       Las Vegas, NV 89109


                       Payment amount $7806.25 submitted 9/19/17
                       check # 71040



                       HR Department
                       Kotobuki Marketing, Inc.
                       Call/Text: (702)600-3909 <(702)%20600-3909>




                       HR Department
                       Kotobuki Marketing, Inc.
                       Call/Text: (702)600-3909


   00037512
      Contact Name Ken Chung
               Subject Naito Corporation - We still have issue with our recording system.
               Priority Medium
       Date Opened 9/6/2017
   Date/Time Closed 9/15/2017 10:04 AM
                Status Closed
                Owner Derwin Hammonds
                       We can't find recording for these extensions

                        70416
            Description 85007
                        85026

                       Thank You


   00037144
      Contact Name Erica Diaz
               Subject Naito Corporation - Extension 85008
               Priority Medium
       Date Opened 8/9/2017
   Date/Time Closed 9/12/2017 3:10 PM
                Status Closed
                Owner Derwin Hammonds
            Description Good morning,

                       Extension 85008 I need to see her calls but shes not in my skills, is their anyway? we can fix this issue.

                       I hope to hear from you soon.
                                                                                                                                         PX19 - 1810
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                                16/114
9/18/2019                                Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                         Corporation - 3-14     Filed
                                                                                       Salesforce       05/11/20
                                                                                                  - Enterprise Edition Page 40 of 217




                       Thanks


   00036702
      Contact Name Ken Chung
               Subject Change for our Call flow
               Priority Medium
       Date Opened 7/9/2017
   Date/Time Closed 7/17/2017 3:10 PM
                Status Closed
                Owner Alex Rosillo
                       Per our conversation on Wednesday, I'm wondering if we can make this change over the weekend so we can have this ready by Monday Mon ring.

                       1. We would like handle all the phone call to 888-797-6064 (LA Harvest Moon) from Las Vegas 877-218-7437
                       As we discussed it, Remove current LA Extension and replace with Las Vegas extension

                       2. All the current extensions under LA Harvest Moon number 888-797-6064 move to LA Green Stream number 888-296-7226
                       I stated where these extensions have to placed.

                        Option #1
                        80109
                        80989
                        81039
                        81060
                        81134
                        81173
                        81244
                        80208
                        81303
            Description 81308
                        81364
                        81365
                        81389
                        80577
                        81138
                        81208
                        81281
                        80743

                       Option #2
                       81038
                       81016
                       80064
                       81000

                       I know we are always asking you something in rush but we really need to set this up fpr Monday. Please let me know

                       Thanks


   00036553
      Contact Name Ken Chung
               Subject Naito Corporation - Bad Extension
                                                                                                                                                                PX19 - 1811
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                                                       20/114
9/18/2019                                Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                         Corporation - 3-14     Filed
                                                                                       Salesforce       05/11/20
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        Fiscal Period Q1-2016
             Next Step Send quote.
                  Type Existing Business
   Last Modified Date 3/16/2016
            Description


   Naito Corporation-
                 Stage Closed Won
               Amount $0.00
            Close Date 9/29/2015
       Probability(%) 100
        Lead Source External Referral
    Owner Full Name Chris Heath
                  Won     ✓
        Fiscal Period Q3-2015
             Next Step 9/29 Derek to pick up contract today.
                  Type New Business
   Last Modified Date 4/12/2016
            Description


  Contracts
   00000997                                                                            00000444
       Contract Start Date 11/13/2018                                                      Contract Start Date 9/28/2015
        Contract End Date 11/12/2021                                                        Contract End Date 9/27/2018
   Contract Term (months) 36                                                            ContractTerm (months) 36
     Contract Owner Alias jwall                                                           Contract Owner Alias ssalc
                             1 x IP Office Dedicated System                                        Description
                             80 x IP Office Call Center (ACD) Extension
                             80 x IP Office Call Recording Account
                 Description 80 x IP office UCA User
                             3 x IP Office 800 Service
                             1 x Contract Buyout


  Phone Numbers (Account)
   (702) 707-7766


   (844) 500-0007


   (844) 700-0226


   (844) 500-0008


   (844) 700-0227


   (844) 885-0007
                                                                                                                                        PX19 - 1812
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                               108/114
9/18/2019                              Case 2:20-cv-00840-JAD-NJKNaitoDocument
                                                                       Corporation - 3-14     Filed
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   (844) 885-0008


   (855) 228-7344


   (877) 317-7022


   (888) 296-7226

   (888) 645-4171


   (888) 645-4174


   (888) 797-6064

  Assets
   3548P                                                                             50005991
       Install Date                                                                     Install Date
            Quantity 4.00                                                                  Quantity 20.00
    Contact Name                                                                      Contact Name
             Status                                                                          Status
   Product Family NETWORK ACCESORIES                                                  Product Family MITEL PRODUCTS
      Total Users 0                                                                     Total Users 0
       Description                                                                       Description


   50006634                                                                          50006634
       Install Date                                                                     Install Date
            Quantity 80.00                                                                 Quantity 130.00
    Contact Name                                                                      Contact Name
             Status                                                                          Status
   Product Family MITEL PRODUCTS                                                      Product Family MITEL PRODUCTS
      Total Users 0                                                                     Total Users 0
       Description                                                                       Description


   51300551                                                                          51300551
       Install Date                                                                     Install Date
            Quantity 80.00                                                                 Quantity 130.00
    Contact Name                                                                      Contact Name
             Status                                                                          Status
   Product Family MITEL PRODUCTS                                                      Product Family MITEL PRODUCTS
      Total Users 0                                                                     Total Users 0
       Description                                                                       Description


   54000291                                                                          54000291
       Install Date                                                                     Install Date
                                                                                                                                      PX19 - 1813
https://na64.salesforce.com/0017000001 LZ5Aa/p?retURL=/0017000001 LZ5Aa                                                                             109/114
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ATTACHMENT GGGG




                                                                PX19 - 1814
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                                                                PX19 - 1815
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                                                                PX19 - 1816
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                                                                PX19 - 1817
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                                                                PX19 - 1818
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                                                                PX19 - 1819
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                                                                PX19 - 1820
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                                                                PX19 - 1821
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                                                                PX19 - 1823
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                                                                PX19 - 1824
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               Chart 1 – Corporate Defendants to Individual Defendants
              Sender                       Beneficiary              Amount Transferred
Naito Corp OB - 0458            Takehisa Naito OB - 0997                     $5,048,000.00
Naito Corp WFB – 9539           Takehisa Naito WFB - 8611                    $4,028,000.00
Camel Coins WFB – 9898          Takehisa Naito WFB - 8611                    $1,443,376.18
Sea Mirror WFB – 8354           Takehisa Naito WFB – 8611                    $1,222,000.00
Lead Express WFB – 9880         Takehisa Naito WFB – 8611                    $1,195,000.00
Kotobuki Marketing WFB – 9062   Takehisa Naito WFB - 8611                      $934,000.00
Ebisu Marketing WFB – 6154      Takehisa Naito WFB – 8611                      $720,000.00
Hotei Marketing WFB - 3413      Takehisa Naito WFB – 8611                      $440,000.00
Camel Coins OB - 0482           Takehisa Naito OB - 0997                       $197,700.00
Lead Express OB – 0474          Takehisa Naito OB - 0997                       $179,000.00
Daikoku Marketing WFB - 6881    Takehisa Naito WFB – 8611                      $170,000.00
Sea Mirror OB – 0557            Takehisa Naito OB - 0997                       $121,100.00
Ebisu Marketing OB - 0466       Takehisa Naito OB - 0997                        $10,000.00
Hotei Marketing OB - 0490       Takehisa Naito OB - 0997                         $9,690.18
Kotobuki Marketing WFB – 9062   Takehisa Naito OB - 0997                         $5,622.00
Naito Corp OB - 0458            Keshi Ikeda OB - 1292                            $4,941.91
                                                            Total            $15,728,430.27




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                Chart 2 – Individual Defendants to Corporate Defendants
              Sender                       Beneficiary            Amount Transferred
Takehisa Naito WFB – 8611       Naito Corp WFB - 9539                      $4,691,000.00
Takehisa Naito WFB – 8611       Lead Express WFB – 9880                    $1,885,000.00
Takehisa Naito WFB – 8611       Kotobuki Marketing WFB - 9062              $1,501,376.18
Takehisa Naito WFB – 8611       Camel Coins WFB - 9898                     $1,240,000.00
Takehisa Naito WFB - 8611       Sea Mirror WFB – 8354                      $1,195,000.00
Takehisa Naito OB – 0997        Camel Coins OB – 0482                      $1,048,000.00
Takehisa Naito WFB - 8611       Ebisu Marketing WFB - 6154                   $967,000.00
Takehisa Naito OB – 0997        Sea Mirror OB - 0557                         $853,000.00
Takehisa Naito OB – 0997        Naito Corp OB - 0458                         $794,200.00
Takehisa Naito OB – 0997        Lead Express OB – 0474                       $619,000.00
Takehisa Naito WFB - 8611       Hotei Marketing WFB – 3413                   $503,029.70
Takehisa Naito WFB - 8611       Daikoku Marketing WFB - 6881                 $201,982.65
Takehisa Naito OB – 0997        Ebisu Marketing OB - 0466                    $200,000.00
Takehisa Naito OB – 0997        Hotei Marketing OB - 0490                    $182,600.00
Keishi Ikeda BOH - 2304         Naito Corp OB - 0458                          $30,000.00
Takehisa Naito OB – 0997        Kotobuki Marketing OB - 3791                   $3,000.00
                                                          Total            $15,914,188.53




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                   Chart 3 – Corporate Defendants to Tribal Defendant
              Sender                       Beneficiary              Amount Transferred
Naito, Corp OB - 0458           Harvest Moon FDNB - 9232                     $4,416,226.00
Naito, Corp OB - 0458           Gentle Breeze FDNB - 9322                    $2,060,000.00
Naito, Corp OB - 0458           Green Stream FDNB - 8212                     $1,605,000.00
Camel Coins OB - 0482           Harvest Moon FDNB - 9232                       $824,665.28
Sea Mirror OB - 0557            Green Stream FDNB - 8212                       $683,282.11
Naito, Corp OB - 0458           Harvest Moon NABC - 6682                       $600,000.00
Lead Express OB - 0474          Gentle Breeze FDNB - 9322                      $477,922.47
Naito, Corp OB - 0458           Green Stream NABC - 6690                       $380,000.00
Naito, Corp OB - 0458           Gentle Breeze NABC - 6708                      $360,000.00
Hotei Marketing OB - 0490       Harvest Moon FDNB - 9232                       $182,600.00
Naito, Corp OB - 0458           Harvest Moon PFB - 5784                         $80,000.00
Naito, Corp OB - 0458           Gentle Breeze PFB - 5760                        $80,000.00
Camel Coins OB - 0482           Harvest Moon NABC - 6682                        $79,632.25
Naito, Corp OB - 0458           Green Stream PFB - 5728                         $70,000.00
Lead Express OB - 0474          Gentle Breeze NABC - 6708                       $62,425.40
Sea Mirror OB - 0557            Green Stream NABC - 6690                        $43,337.40
Naito, Corp OB - 0458           Harvest Moon PFB - 5768                         $10,000.00
Naito, Corp OB - 0458           Green Stream PFB - 5720                         $10,000.00
Naito, Corp OB - 0458           Gentle Breeze PFB - 5744                        $10,000.00
Naito Corp WFB – 9539           Gentle Breeze CNB - 4144                           $136.08
                                                            Total            $12,035,226.99




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                  Chart 4 – Tribal Defendant to Corporate Defendants
              Sender                      Beneficiary            Amount Transferred
Harvest Moon FDNB - 9232       Naito Corp WFB - 9539                      $4,640,313.50
Gentle Breeze FDNB - 9322      Naito Corp WFB - 9539                      $3,680,466.84
Green Stream FDNB - 8212       Naito Corp WFB - 9539                      $3,593,146.05
Harvest Moon FDNB - 9232       Camel Coins WFB - 9898                     $3,479,129.80
Harvest Moon FDNB - 9232       Kotobuki Marketing WFB - 9062              $2,805,647.50
Gentle Breeze FDNB - 9322      Lead Express WFB - 9880                    $2,570,160.01
Green Stream FDNB - 8212       Sea Mirror WFB - 8354                      $2,551,276.85
Gentle Breeze FDNB - 9322      Ebisu Marketing WFB - 6154                 $2,376,570.00
Gentle Breeze FDNB - 9322      Kotobuki Marketing WFB - 9062              $1,755,497.50
Harvest Moon FDNB - 9232       Hotei Marketing WFB - 3413                 $1,393,657.50
Green Stream FDNB - 8212       Kotobuki Marketing WFB - 9062              $1,218,210.00
Green Stream FDNB - 8212       Daikoku Marketing WFB - 6881               $1,018,065.00
Harvest Moon PFB - 5776        Kotobuki Marketing WFB - 9062                $233,905.00
Gentle Breeze PFB - 5752       Kotobuki Marketing WFB - 9062                $223,000.00
Gentle Breeze PFB - 5752       Lead Express WFB - 9880                      $221,737.81
Harvest Moon PFB - 5776        Camel Coins WFB - 9898                       $215,920.03
Green Stream PFB - 5736        Kotobuki Marketing WFB - 9062                $185,885.00
Green Stream PFB - 5736        Sea Mirror WFB - 8354                        $129,561.06
Green Stream PFB - 5720        Kotobuki WFB - 9062                          $113,410.00
Gentle Breeze PFB - 5744       Kotobuki WFB - 9062                           $87,680.00
Harvest Moon PFB - 5768        Naito Corp WFB - 9539                         $69,029.66
Harvest Moon PFB - 5768        Kotobuki WFB - 9062                           $68,057.50
Gentle Breeze PFB - 5744       Lead Express WFB - 9880                       $35,860.12
Green Stream PFB - 5720        Sea Mirror WFB - 8354                         $23,224.43
Harvest Moon PFB - 5768        Camel Coins WFB - 9898                        $22,819.21
Harvest Moon NABC - 6682       Naito Corp WFB - 9539                         $17,690.75
Green Stream PFB - 5720        Naito Corp WFB - 9539                         $14,275.08
Gentle Breeze NABC - 6708      Naito Corp WFB - 9539                         $12,621.45
Gentle Breeze PFB - 5744       Naito Corp WFB - 9539                         $12,234.38
Harvest Moon FDNB - 9232       Lead Express WFB - 9880                       $10,000.00
Green Stream NABC - 6690       Naito Corp WFB - 9539                          $9,242.50
Harvest Moon PFB - 5776        Naito Corp WFB - 9539                          $4,762.54
Green Stream PFB - 5736        Naito Corp WFB - 9539                          $4,096.88
Gentle Breeze PFB - 5752       Naito Corp WFB - 9539                          $3,194.12
Gentle Breeze PFB - 5760       Naito Corp WFB - 9539                            $100.00
Green Stream PFB - 5728        Naito Corp WFB - 9539                            $100.00
Harvest Moon PFB - 5784        Naito Corp WFB - 9539                            $100.00
                                                         Total            $32,800,648.07




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Wire Original Information Report                         Our Ref 2012-FDO-0509-455
 ID     Category                          Value
 1500   Message Attributes                3012204123P
 1510   Type Code                         1000
 1520   IMAD                              20120509
                                          QMGFT006
                                          002455
 2000   Amount                            $30,000.00
 3100   Sender FI
                                          CENTER BANK
 3320   Sender Reference                  F018505
 3400   Receiver FI
 3600   Business Code                     CTR
 4000   Intermediary FI                   F

                                          JPMORGAN CHASE BANK, NA
                                          NEW YORK, NY
 4100   Beneficiary's FI                  B
                                          KSBJJPJSXXX
                                          KANSAI URBAN BANKING CORPORATION
                                          2-4 NISHI-SHINSAIBASHI 1-CHOME,
                                          OSAKA 542-8654 JAPAN
 4200   Beneficiary                       D

                                          LEAD KIKAKU
                                          06 6365 0901
                                          JAPAN
 5000   Originator                        D

                                          LEAD EXPRESS INC
                                          1930 WILSHIRE BLVD. STE 400
                                          LOS ANGELES, CA
                                          90057
 5100   Originator FI                     CENTER BANK OPERATIONS ADMIN
                                          3435 WILSHIRE BLVD SUITE 700
                                          LOS ANGELES, CA 90010
                                          USA




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Wire Original Information Report                        Our Ref 2012-FDO-0605-676
 ID     Category                          Value
 1500   Message Attributes                3012204123P
 1510   Type Code                         1000
 1520   IMAD                              20120605
                                          QMGFT013
                                          002676
 2000   Amount                            $30,000.00
 3100   Sender FI
                                          CENTER BANK
 3320   Sender Reference                  F020547
 3400   Receiver FI
 3600   Business Code                     CTR
 4000   Intermediary FI                   F

                                          JPMORGAN CHASE BANK, NA
                                          NEW YORK, NY
 4100   Beneficiary's FI                  B
                                          KSBJJPJSXXX
                                          KANSAI URBAN BANKING CORPORATION
                                          2-4 NISHI-SHINSAIBASHI 1-CHOME,
                                          OSAKA 542-8654 JAPAN
 4200   Beneficiary                       D

                                          LEAD PROJECT
                                          TEL 06 6365 0901
                                          JAPAN
 5000   Originator                        D

                                          LEAD EXPRESS INC
                                          1930 WILSHIRE BLVD. STE 400
                                          LOS ANGELES, CA
                                          90057
 5100   Originator FI                     CENTER BANK OPERATIONS ADMIN
                                          3435 WILSHIRE BLVD SUITE 700
                                          LOS ANGELES, CA 90010
                                          USA




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Wire Original Information Report                        Our Ref 2012-FDO-0629-663
 ID     Category                          Value
 1500   Message Attributes                3012204123P
 1510   Type Code                         1000
 1520   IMAD                              20120629
                                          QMGFT013
                                          004663
 2000   Amount                            $30,000.00
 3100   Sender FI
                                          CENTER BANK
 3320   Sender Reference                  F022414
 3400   Receiver FI
 3600   Business Code                     CTR
 4000   Intermediary FI                   F

                                          JPMORGAN CHASE BANK, NA
                                          NEW YORK, NY
 4100   Beneficiary's FI                  B
                                          KSBJJPJSXXX
                                          KANSAI URBAN BANKING CORPORATION
                                          2-4 NISHI-SHINSAIBASHI 1-CHOME,
                                          OSAKA 542-8654 JAPAN
 4200   Beneficiary                       D

                                          LEAD KIKAKU
                                          TEL 06 6365 0901
                                          JAPAN
 5000   Originator                        D

                                          LEAD EXPRESS INC
                                          1930 WILSHIRE BLVD. STE 400
                                          LOS ANGELES, CA
                                          90057
 5100   Originator FI                     CENTER BANK OPERATIONS ADMIN
                                          3435 WILSHIRE BLVD SUITE 700
                                          LOS ANGELES, CA 90010
                                          USA




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Wire Original Information Report                         Our Ref 20123490129300
 ID     Category                          Value
 1      Data Source                       BSGWIRE
 2      Date                              12/14/2012
 3      Description                       FED Outgoing
 4      Account
 5      Type                              DDA
 6      Amount                            $150,000.00
 7      Direction                         Outgoing
 8      Name                              BBCN BANK OLYMPIC-HOOVER BRANCH
 9      Party Name                        LEAD KIKAKU
 10     Party Addr                        JAPAN TEL 213 503 6676
 11     Party Bank                        KANSAI URBAN BANKING CORPORATION




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Wire Original Information Report                         Our Ref 20130180114700
 ID     Category                          Value
 1      Data Source                       BSGWIRE
 2      Date                              1/18/2013
 3      Description                       FED Outgoing
 4      Account
 5      Type                              DDA
 6      Amount                            $80,000.00
 7      Direction                         Outgoing
 8      Name                              BBCN BANK OLYMPIC-HOOVER BRANCH
 9      Party Name                        LEAP PROJECT
 10     Party Addr                        TEL 213 503 6676 JAPAN
 11     Party Bank                        KANSAI URBAN BANKING CORPORATION




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Wire Original Information Report                         Our Ref 20130460148900
 ID     Category                          Value
 1      Data Source                       BSGWIRE
 2      Date                              2/15/2013
 3      Description                       FED Outgoing
 4      Account
 5      Type                              DDA
 6      Amount                            $80,000.00
 7      Direction                         Outgoing
 8      Name                              BBCN BANK OLYMPIC-HOOVER BRANCH
 9      Party Name                        LEAD KIKAKU
 10     Party Addr                        TEL 213 503 6676 JAPAN
 11     Party Bank                        KANSAI URBAN BANKING CORPORATION




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Wire Original Information Report                         Our Ref 20130710151600
 ID     Category                          Value
 1      Data Source                       BSGWIRE
 2      Date                              3/12/2013
 3      Description                       FED Outgoing
 4      Account
 5      Type                              DDA
 6      Amount                            $100,000.00
 7      Direction                         Outgoing
 8      Name                              BBCN BANK OLYMPIC-HOOVER BRANCH
 9      Party Name                        LEAD KIKAKU
 10     Party Addr                        JAPAN TEL 213 503 6676
 11     Party Bank                        KANSAI URBAN BANKING CORPORATION




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Wire Original Information Report                         Our Ref 20130990192100
 ID     Category                          Value
 1      Data Source                       BSGWIRE
 2      Date                              4/9/2013
 3      Description                       FED Outgoing
 4      Account
 5      Type                              DDA
 6      Amount                            $100,000.00
 7      Direction                         Outgoing
 8      Name                              BBCN BANK OLYMPIC-HOOVER BRANCH
 9      Party Name                        LEAD KIKAKU
 10     Party Addr                        TEL 213 503 6676 JAPAN
 11     Party Bank                        KANSAI URBAN BANKING CORPORATION




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